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DPR MODIFIED AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

_for the

District of Puerto Rico

)
. CIVIL NO. 18-1005

Bancrédito International Bank Corporation —j
Plaintif(s) )

v. ; Civil Action No, BREACH OF CONTRACT;

) EXECUTION OF COLLATERAL GUARANTY,

) EXECUTION OF PERSONAL GUARANTY
Data Hardware Supply, Inc. 2
)
Defendantts) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
Data Hardware Supply, Inc.
8950 Sw 74 Ct Ste. 1803, Miami, Florida 00918

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received It) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) —~ of 90 days in a Social Security Action —- you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on

the plaintiff or plaintiffs attorney, whose name and address are:

Harold D. Vicente, Vicente & Cuebas
PO Box 11609, San Juan, PR 00910-1609

If you fail to respond, judgment by default will be entered against you for the relief domanded in the complaint.
You also must file your answer or motion with the court.

FRANCES RIOS DE MORAN, ESQ.
CLERK OF COURT

Date:

Signature of Clerk or Deputy Clark

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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. B. 4 (D)

This summons for (name of individual and tle, if any)

was received by me on (date)

Date:

_] I personafly served the summons on the individual at (place)
Oni {date} ; OF

E_] I left the summons at the individual's residence or usual place of abode with fname)
, 2 person of suitable age and cliscretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or
[| Iserved the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)
On (date) ; or
Sor

[| ¥ returned the summons unexecuted because

[] Other (pects):

for services, for a total of $

My fees are $ for travel and $

I declare under penalty of perjury that this inferniation is true.

Server's stanature

Printed name and title

Server's address

Additional information regarding attempted service, ete:

